
Deaderick, J.,
delivered the opinion of the court.
Overton sued Lite and Lauderdale before a justice of the peace of Sumner County, and obtained judgment only against Lite, for $32.
The case was brought up to the circuit court by certiorari, by Lite, and the judgment was affirmed.
While the case was pending in the circuit court, Overton made affidavit for an ancillary attachment, and gave bond, and the attachment was issued, and levied on a lot of corn.
A plea in abatement was filed to the attachment, and the defendant demanded a jury to try the issue *676made by this plea separately from the issues upon the merits, which the court refused, and the jury was sworn to try all the matters in dispute between the parties, to which plaintiff excepted.
There was no error in refusing to try the issues separately when both were ready to be submitted to a jury, and could be tried together and without delay.
The verdict was in favor of Overton, upon the plea in abatement as well as upon the merits.
We are of opinion that the verdict is sufficiently sustained by the evidence, and has attained the justice of the case, and the judgment will be affirmed.
